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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

HYDRO NET LLC,                       )
                                     )
                 Plaintiff,          )
     v.                              )   C.A. No. 21-478 (MN)
                                     )
BARRACUDA NETWORKS, INC.             )
                                     )
                 Defendant.          )


        DEFENDANT’S REPLY BRIEF IN SUPPORT OF ITS
      MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


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July 16, 2021
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      On June 28, 2021, Defendant Barracuda Networks, Inc. (“Barracuda”)

moved under Fed. R. Civ. P. 12(b)(6) to dismiss Plaintiff Hydro Net, LLC’s

(“Hydro Net”) claims for direct, induced, and contributory infringement as well as

Hydro Net’s claim for enhanced damages under § 284. D.I. 10. Barracuda’s

motion demonstrated that Hydro Net had not plausibly alleged that Barracuda

practices any limitations of the Asserted Claims. Id. at 9-13. With respect to

indirect infringement, Barracuda demonstrated, inter alia, that (i) there were no

plausible allegations of direct infringement by Barracuda (or anyone else) and (ii)

there were no alleged facts showing that Barracuda had pre-suit knowledge of the

sole asserted patent, U.S. Patent No. 7,187,706, which had expired months before

the case was filed. Id. at 4, 13-18. Likewise, Barracuda demonstrated that Hydro

Net’s request for enhanced damages under 35 U.S.C. § 284 should be dismissed

because there were no factual allegations that Barracuda had pre-suit knowledge of

the asserted patent. Id. at 18-19.

      Hydro Net’s response to the motion was due on July 12, 2021, but it filed no

response. Nor did Hydro Net’s counsel respond to a July 1 email from Barracuda’s

counsel requesting that Hydro Net dismiss its complaint with prejudice based on

the motion, before Barracuda incurred further costs in this litigation. See Ex. A.

      In view of Hydro Net’s failure to oppose Barracuda’s motion to dismiss,

Barracuda respectfully requests that the Court grant the motion and dismiss all
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claims with prejudice. See Carraway v. Borough of Wilkinsburg, C.A. No. 9-372,

2009 WL 2981955, at *2 (W.D. Pa. Sept. 11, 2009) (“The Court ‘may, and

generally will, deem a claim abandoned when a plaintiff fails to respond to a

defendant’s arguments that the claim should be dismissed.’”); see also Uniloc 2017

LLC v. NEXON Co., Ltd, C.A. No. 20-1051-CFC, D.I. 35 (D. Del. Jan. 15, 2021)

(granting motions to dismiss where plaintiff “failed to timely file a response to

either motion.”), attached as Ex. B.

      A proposed order is attached as Exhibit C.



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                  WORD COUNT CERTIFICATION

      The undersigned counsel hereby certifies that the foregoing document

contains 335 words, which were counted by using the word count feature in

Microsoft Word, in 14-point Times New Roman font. The word count does

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blocks.

                                    /s/ Michael J. Flynn

                                    Michael J. Flynn (#5333)
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                           CERTIFICATE OF SERVICE
      I hereby certify that on July 16, 2021 I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send

notification of such filing to all registered participants.

      I further certify that I caused copies of the foregoing document to be served

on July 16, 2021 upon the following in the manner indicated:

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